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Affidavit of Service

UNITED STATES DISTRICT COURT
District of Columbia

Estate of Lazarus Wilson, et al. Case Number: 1:23-cv-01987-DLF
Plaintiff

V8.

The District of Columbia, et al.
Defendant

On behalf of:

Andrew Clarke

A. Clarke Law, PLLC

163 Waterfront Street, Suite 440
National Harbor, MD 20745

Received by Cavalier to be served on Commander Jason Bagshaw at 441 4th Street, NW, Washington, DC 20001.

|, Erin McDonald, being duly sworn, depose and say that on August 10, 2023 at or about 9:51 AM | served Summons
and Complaint; Civil Cover Sheet personally to Barbara Rousey as Staff assistant / Person Found in Charge at 441 4th
Street, NW, Washington, DC 20001, being of suitable position and discretion to accept service in the absence of
Commander Jason Bagshaw. Upon information and belief, 441 4th Street, NW, Washington, DC 20001 is the usual
place of business or employment of Commander Jason Bagshaw.

| am a natural person over the age of eighteen and am not a party or otherwise interested in the subject matter in
controversy. | am a private process server authorized to serve this process in accordance with relevant law. Under
penalty of perjury, | declare that the foregoing is true and correct.

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Subscribed and sworn to in my state and county oY XUSSA 8
by the affiant whose identity is known to me - on. a %

y y SOL NOTARY’'S%% Erin McDonald
Cavalier CPS

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i 22% — ExpIRES Leesburg, VA 20175
—— 23". 91301202 “SF (703) 431-7085

Signed Date:_8 //0/ 23 MEA AS

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Our Job Number: 2023-112577

